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                             UNITED STATES DISTRICT COURT
                              MIDDLE DISTRICT OF FLORIDA
                                 FORT MYERS DIVISION

RICHARD OF THE FAMILY ALBRIGHT,
(Man) injured party

       Plaintiff,

v.                                                   Case No: 2:16-cv-828-FtM-29MRM

DEPARTMENT OF REVENUE OF THE
STATE OF FLORIDA,

       Defendant.
                                             /

                            REPORT AND RECOMMENDATION

       This cause comes before the Court, sua sponte, upon review of the file. On November

10, 2016, Plaintiff filed his “Demand for Dismissal for Lack of IV-D Jurisdiction” (Doc. 1) along

with the Application to Proceed in District Court without Prepaying Fees or Costs (Doc. 2),

construed as a Motion to Proceed In Forma Pauperis. After careful review of the “Demand for

Dismissal for Lack of IV-D Jurisdiction,” the Undersigned found that Plaintiff failed to state a

claim and required Plaintiff to file an Amended Complaint on or before April 21, 2017 that

complied with the instructions in the Court’s Order. (Doc. 4 at 6). The Court specifically

warned that “[i]f Plaintiff fails to file an Amended Complaint within this time, the Undersigned

will recommend that this action be dismissed.” (Id. (citing M.D. Fla. R. 3.10)).

       Plaintiff did not file an Amended Complaint within the time set by the Court. The Court,

nevertheless, afforded Plaintiff one final opportunity to file an Amended Complaint. (Doc. 5).

On April 27, 2017, the Court ordered Plaintiff to show cause no later than May 12, 2017 why he

failed to file an Amended Complaint that complied with the Court’s March 23, 2017 Order (Doc.

4). (Id. at 2). Additionally, the Court ordered Plaintiff to file an Amended Complaint that
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complies fully with the Court’s March 23, 2017 Order (Doc. 4) no later than May 12, 2017.

(Id.). The Court warned Plaintiff that failure to comply with the Order would result in the

Undersigned recommending that this action be dismissed. (Id. (citing M.D. Fla. R. 3.10)).

Plaintiff failed to file a response to the Order to Show Cause or to file an Amended Complaint as

directed, and the time to do so has passed.

         “Whenever it appears that any case is not being diligently prosecuted the Court may . . .

enter an order to show cause why the case should not be dismissed, and if no satisfactory cause is

shown, the case may be dismissed by the Court for want of prosecution.” M.D. Fla. R. 3.10(a).

The decision to dismiss for want of prosecution is within the Court’s discretion. See McKelvey v.

AT & T Techs., Inc., 789 F.2d 1518, 1520 (11th Cir. 1986) (citing Martin-Trigona v. Morris, 627

F.2d 680, 682 (5th Cir. 1980)). 1 The Eleventh Circuit has held, however, that “the severe

sanction of dismissal – with prejudice or the equivalent thereof – should be imposed ‘only in the

face of a clear record of delay or contumacious conduct by the plaintiff.’” Id. (citing Martin-

Trigona, 627 F.2d at 682). The Eleventh Circuit further stated that “such dismissal is a sanction

of last resort, applicable only in extreme circumstances, and generally proper only where less

drastic sanctions are unavailable.” Id. (citing Searock v. Stripling, 736 F.2d 650, 653 (11th Cir.

1984); E.E.O.C. v. Troy State University, 693 F.2d 1353, 1354, 1358 (11th Cir. 1982)). The

Court further held that “[a] finding of such extreme circumstances necessary to support the

sanction of dismissal must, at a minimum, be based on evidence of willful delay; simple

negligence does not warrant dismissal.” Id. (citing Searock, 736 F.2d at 653; Troy State, 693

F.2d at 1354, 1357).


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 In Bonner v. City of Prichard, 661 F.2d 1206, 1209 (11th Cir. 1981) (en banc), the Eleventh
Circuit Court of Appeals adopted as binding precedent all the decisions of the former Fifth
Circuit handed down prior to the close of business on September 30, 1981.




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       While dismissal for lack of prosecution is a harsh sanction, the Undersigned can only

conclude that Plaintiff’s delay and unresponsiveness in this case is willful. See McKelvey, 789

F.2d at 1520. The Court’s March 23, 2017 Order specifically warned Plaintiff that failure to file

an Amended Complaint by April 21, 2017 would result in the Undersigned recommending

dismissal. (Doc. 4 at 6). Similarly, the Court’s April 27, 2017 Order warned Plaintiff that failure

to comply with the Order would result in the Undersigned recommending that this action be

dismissed. (Doc. 5 at 2). Despite these explicit warnings, Plaintiff did not file an Amended

Complaint or show cause as ordered. Because Plaintiff has failed to comply with two successive

Court Orders and has otherwise made no showing in any respect that he wishes this action to

proceed, the Undersigned can only view Plaintiff’s actions as willful delay warranting dismissal

for failure to prosecute. See McKelvey, 789 F.2d at 1520; M.D. Fla. R. 3.10(a).

       Accordingly, the Undersigned RESPECTFULLY RECOMMENDS that Plaintiff’s

Demand for Dismissal for Lack of IV-D Jurisdiction (Doc. 1) be dismissed.

       Respectfully recommended in Chambers in Fort Myers, Florida on May 15, 2017.




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                                       NOTICE TO PARTIES

          A party has fourteen days from this date to file written objections to the Report and

Recommendation’s factual findings and legal conclusions. A party’s failure to file written

objections waives that party’s right to challenge on appeal any unobjected-to factual finding or

legal conclusion the district judge adopts from the Report and Recommendation. See 11th Cir.

R. 3-1.




Copies furnished to:


Counsel of Record
Unrepresented Parties




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